 Case:18-05288-EAG11 Doc#:221 Filed:07/01/19 Entered:07/01/19 15:58:09               Desc: Main
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 1                       IN THE UNITED STATES BANKRUPTCY COURT FOR
                                  THE DISTRICT OF PUERTO RICO
 2

 3
     IN RE:                                        CASE NO. 18-05288-EAG11
 4    SKYTEC INC                                   Chapter 11

 5

 6
     XX-XXXXXXX
 7
                     Debtor(s)                          FILED & ENTERED ON JUL/01/2019
 8

 9
                                            O R D E R
10
           The    application    for   allowance   of    compensation   filed   by   Luis   R.
11
     Carrasquillo Ruiz, Financial Advisor in the amount of $12,289.00, plus expenses
12
     $96.70. for a total amount of $12,385.70(docket #215), having been duly notified
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     to all parties in interest, and no timely replies or objections having been
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     filed, it is now
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           ORDERED that said motion be and is hereby granted.
16
           IT IS SO ORDERED.
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           In Ponce, Puerto Rico, this 1 day of July, 2019.
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